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 1
                                                                                 The Honorable Marsha J. Pechman
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 6
                                      UNITED STATES DISTRICT COURT
 7
                                     WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 8
       ROBERT BERGSTROM, et al.,                                  Case No. 2:21-cv-00055-MJP
 9
                                           Plaintiff,
10
                                                                  DEFENDANTS’ MOTION TO DISMISS
                v.
11
                                                                  Noted for consideration:
       THE UNITED STATES NAVY, et. al.,                           October 22, 2021
12
                                           Defendants.
13

14

15            The defendants, the United States Navy, Secretary of the Navy Carlos Del Toro, 1 the
16
     Department of Defense, and the United States of America, (collectively, the “defendants”) by and
17   through undersigned counsel of record, Tessa M. Gorman, Acting United States Attorney for the
18   Western District of Washington, and Sarah K. Morehead, Assistant United States Attorney for that
19   District, hereby respectfully move to dismiss plaintiffs’ claim under the Fourteenth Amendment
20   to the U.S. Constitution and their claim under the Little Tucker Act. Defendants do not move at
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     this time to dismiss plaintiffs’ claim under the Administrative Procedure Act (“APA”), which is
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23   1
       Carlos Del Toro has been sworn in as the Secretary of the Navy and is therefore substituted in his official capacity
     for former Secretary Kenneth Braithwaite under Fed. R. Civ. P. 25.
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 1   better suited to cross motions for summary judgment. Defendants bring this motion now to dismiss

 2   the frivolous Fourteenth Amendment and Little Tucker Act claims to narrow the scope of the

 3   matter, clarify the scope of the record for review, and establish the available remedies. 2

 4            Plaintiffs’ claims under the Fourteenth Amendment and the Little Tucker Act must be

 5   dismissed because plaintiffs lack standing to bring those claims. They do not claim that any of the

 6   defendants have done anything to them personally. Instead, they claim that the Navy denied

 7   military honors to their now deceased father.

 8            In addition to the lack of standing, the Court lacks jurisdiction over plaintiffs’ equal

 9   protection claim brought under the Fourteenth Amendment, which does not apply to the federal

10   government. Regardless, their equal protection claim fails to state a claim. Moreover, their equal

11   protection and Little Tucker Act claims are untimely because plaintiffs challenge actions that

12   occurred shortly after World War II, and the six-year statute of limitations has long since run.

13            Plaintiffs have failed to state a claim under the Little Tucker Act because they have not

14   identified any contract, government debt, or source of law mandating compensation to them or

15   their father. Without identifying such a government obligation to pay money, they have not stated

16   a Little Tucker Act claim. For those reasons, plaintiffs’ claims under the Fourteenth Amendment

17   and the Little Tucker Act should be dismissed without leave to amend.

18                                           I.       FACTUAL BACKGROUND

19            Plaintiffs are the sons of their now deceased father, former Navy Captain Edward

20   Bergstrom. They argue that the Navy has improperly refused to grant their father a Navy Cross

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      See, e.g., Matsuo v. United States, 416 F. Supp. 2d 982 (D. Haw. 2006) (damages are not available under an APA
     claim); Camp v. Pitts, 411 U.S. 138, 142 (1973) (explaining that because “the focal point for judicial review should
     be the administrative record already in existence, not some new record made initially in the reviewing court,”
23   discovery is generally not permitted in APA actions).

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 1   for his service during World War II. Amended Complaint (Dkt. #22-1) at ¶ 2, 3, 40. Instead, their

 2   father was awarded other significant awards, including the Distinguished Flying Cross, Air Medal,

 3   and Bronze Star. Id. at ¶ 40, 49. Plaintiffs contend that they have sought resolution with the Navy

 4   since 2002 but have been unable to obtain a Navy Cross for their father. Id. at ¶ 33, 84.

 5          Plaintiffs claim that they discovered in 2002 that the Navy erred in failing to award a Navy

 6   Cross to their father. Amended Complaint at ¶ 33. The Board for Correction of Naval Records

 7   (“BCNR”) denied their request in June 2010. Id. at ¶ 95. Since that time, plaintiffs have continued

 8   to ask the BCNR and other entities to reconsider. Id. at ¶ 33. They filed their complaint with this

 9   Court in January 2021 seeking, among other remedies, for the Court to order the Navy to “correct”

10   their father’s military records and award him the Navy Cross. Id. p. 55-56. They filed an amended

11   complaint in August 2021.

12                                 I.   ARGUMENT AND AUTHORITY

13   A.     Standards for a Motion to Dismiss

14          Dismissal is appropriate under Federal Rule of Civil Procedure 12(b)(1) when the court

15   lacks subject matter jurisdiction over the claim. Subject matter jurisdiction is a threshold issue

16   that goes to the court’s power to hear the case. See, e.g., Steel Co. v. Citizens for a Better Env’t,

17   523 U.S. 83, 94-95 (1998). A motion to dismiss for lack of subject matter jurisdiction can attack

18   the allegations either facially or factually. Safe Air for Everyone v. Meyer, 373 F.3d 1035,

19   1039 (9th Cir. 2004). A moving party factually attacks the allegations by “disput[ing] the truth of

20   the allegations that, by themselves, would otherwise invoke federal jurisdiction.” Id. A moving

21   party facially attacks the allegations by asserting “that allegations contained in the complaint are

22   insufficient on their face to invoke federal jurisdiction.” Id.

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 1          Under Rule 12(b)(6), a defendant may move to dismiss a complaint for “failure to state a

 2   claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss,

 3   a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

 4   is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

 5   Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads

 6   factual content that allows the court to draw the reasonable inference that the defendant is liable

 7   for the misconduct alleged.” Id.

 8          When considering a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) or

 9   12(b)(6), the court construes the complaint in the light most favorable to the non-moving party.

10   See Livid Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d 940, 946 (9th Cir. 2005); see also

11   Wolfe v. Strankman, 392 F.3d 358, 362 (9th Cir. 2004). Generally, the court must accept as true

12   all well-pleaded allegations of material fact and draw all reasonable inferences in favor of the

13   plaintiff. See Wyler Summit P’ship v. Turner Broad. Sys., Inc., 135 F.3d 658, 661 (9th Cir. 1998).

14          In this case, defendants make a facial challenge to jurisdiction. Even assuming the

15   allegations in the complaint are true, this Court lacks jurisdiction over plaintiffs’ Fourteenth

16   Amendment and Little Tucker Act claims.

17   B.     Plaintiffs Lack Standing to Bring an Equal Protection or Little Tucker Act Claim

18          Plaintiffs lack standing to bring an equal protection claim or a Little Tucker Act claim

19   based on the alleged denial of the Navy Cross to their father. Absent standing, the Court lacks

20   subject matter jurisdiction over their claims. Braunstein v. Ariz. Dept. of Transp., 683 F.3d 1177,

21   1184 (9th Cir. 2012); Byrd v. Guess, 137 F.3d 1126, 1131 (9th Cir. 1998) (“Standing is a necessary

22   element of federal-court jurisdiction.”); Wilson v. Bank of Am., N.A., 2013 U.S. Dist. LEXIS 9814

23   (W.D. Wash. Jan. 23, 2013). Whether a party has standing to pursue a claim is a threshold issue

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 1   that “naturally precedes the question of whether that party has successfully stated a claim.”

 2   Moreland v. City of Las Vegas, 159 F.3d 365, 369 (9th Cir. 1998).

 3            Plaintiffs lack standing because rather than attempting to vindicate their own legal rights,

 4   they are attempting to vindicate their father’s alleged rights. The default rule is that “a litigant

 5   must assert his or her own legal rights and interests, and cannot rest a claim to relief on the legal

 6   rights or interests of third parties.” Powers v. Ohio, 499 U.S. 400, 410 (1991). In order to depart

 7   from that rule and assert a third party’s right: (1) “[t]he litigant must have suffered an ‘injury in

 8   fact’”; (2) “the litigant must have a close relationship to the third party”; and (3) “there must exist

 9   some hindrance to the third party’s ability to protect his or her own interests.” Id. at 410-11

10   (citation omitted). An injury-in-fact is one that affects the plaintiff in a personal and individual

11   way. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (internal quotations omitted).

12   Therefore, even if the third party is unable to bring the claim, the plaintiff must still have suffered

13   an “‘injury-in-fact,’ thus giving him or her a ‘sufficiently concrete interest’ in the outcome of the

14   issue in dispute.” Wauchope v. United States Dep’t of State, 985 F.2d 1407, 1411 (9th Cir 1993).

15   Plaintiff bears the burden of proving that element and the other requirements of standing when

16   standing is challenged. Friends for Ferrell Parkway, LLC v. Stasko, 282 F.3d 315, 320 (4th Cir.

17   2002).

18            In this case, plaintiffs attempt to establish standing by alleging that they are the “heirs” of

19   their father. Amended Complaint at ¶ 35. But because of the constitutional limitations on standing,

20   heirs do not have unlimited standing to assert any claim they want based solely on their status as

21   heirs. See Lujan, 504 U.S. at 560 (explaining that “the core component of standing is an essential

22   and unchanging part of the case-or-controversy requirement of Article III.”). Rather, heirs’ claims

23   are often defined by and constricted by statute. See, e.g., Garcia v. Adams, 2006 U.S. Dist. LEXIS

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 1   8684, *12-13 (E.D. Cal. Feb. 15, 2006) (noting that Cal. Code Civ. Pro. § 377.60 allowed a claim

 2   for wrongful death and that cause of action “exists only so far and in favor of such person as the

 3   legislative power may declare.”) (internal citation and quotation omitted); 42 U.S.C. § 1988

 4   (setting forth when a § 1983 claim survives the death of the alleged victim). In support of their

 5   claim to have standing, plaintiffs cite only to 10 U.S.C. § 1552, a statute titled, “Correction of

 6   military records.” Id. While that statute might confer standing to pursue their APA claim for

 7   correction of their father’s military records, it does not confer standing on plaintiffs to pursue equal

 8   protection or Little Tucker Act claims on his behalf.

 9           In an attempt to argue that they have been injured, plaintiffs argue that if their father had

10   been awarded another distinguished military honor, he would have been promoted, made more

11   money, and plaintiffs would have inherited some unspecified portion of that additional

12   compensation as their father’s heirs. Amended Complaint at ¶ 115 (“While this cause of action

13   was not primarily about the economic injuries, the sons, as direct family heirs, were concretely

14   economically injured by these events which satisfy any standing question.”). The vague argument

15   that their father should have been paid more is not an “injury in fact” to plaintiffs’ legal interests

16   as required for standing. See Lujan, 504 U.S. at 560 (explaining that an “injury in fact” is “an

17   invasion of a legally protected interest which is … concrete and particularized”).

18           In addition to the lack of injury to plaintiffs, plaintiffs’ Little Tucker Act claim is too

19   speculative to establish standing. Plaintiffs’ speculation that if their father had obtained additional

20   military honors, then he might have been promoted and received higher pay that they then would

21   have inherited when he died decades later is too hypothetical to establish standing. See Lujan, 504

22   U.S. at 560 (1992) (stating that injuries that are “hypothetical” or “conjectural” do not establish

23   standing). Whether any of those events would have occurred is speculative including whether the

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 1   award of additional military honors would have resulted in a promotion, when a promotion might

 2   have occurred, whether a promotion would have resulted in additional compensation, when

 3   additional compensation might have been paid and how much, and whether the additional

 4   compensation would have remained for decades to be later inherited by plaintiffs. Amended

 5   Complaint at ¶ 116 (alleging that Captain Bergstrom died in 1967).

 6          The mere fact that plaintiffs have incurred attorney’s fees in trying to obtain relief does not

 7   establish that they have standing. Attorney’s fees are a “byproduct of the suit itself” and cannot

 8   serve as a basis for Article III standing. See Vermont Agency of Natural Res. v. United States ex

 9   rel. Stevens, 529 U.S. 765, 772-733 (2000) (internal quotation marks omitted); see also Diamond

10   v. Charles, 476 U.S. 54, 70-71 (1986) (holding that an interest in attorney’s fees is insufficient for

11   standing purposes); Amended Complaint at Prayer for Relief, ¶ H.

12          Nor can plaintiffs establish standing based on their quest for further military honors for

13   their father because that relief would not inure to them. Regardless, that relief is not available

14   under the Little Tucker Act because that statute “impliedly forbid[] declaratory and injunctive

15   relief.” Tucson Airport Auth. v. Gen. Dynamics Corp., 136 F.3d 641, 646 (9th Cir. 1998).

16   Plaintiffs cannot establish standing by seeking unavailable relief for a third party.

17          For those reasons, plaintiffs lack standing to bring their equal protection or Little Tucker

18   Act claims and those claims should be dismissed under Fed. R. Civ. P. 12(b)(1).

19   C.     Plaintiffs’ Equal Protection Claim

20          Even if plaintiffs have standing, their Fourteenth Amendment claim fails for additional

21   reasons. Amended Complaint at ¶ 178-191. Plaintiffs seek to bring an equal protection claim

22   under the Fourteenth Amendment to the U.S. Constitution, but the Fourteenth Amendment does

23   not apply to the federal government. See U.S. Const. Amend. XIV, § 1; United States v. Morrison,

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 1   529 U.S. 598, 621 (2000) (noting “the time-honored principle that the Fourteenth Amendment, by

 2   its very terms, prohibits only state action”). Therefore, plaintiffs’ Fourteenth Amendment claim

 3   must be dismissed.

 4            Nor should plaintiffs be allowed leave to amend their equal protection claim. A court may

 5   grant leave to amend if it appears possible that the defects in the complaint could be corrected.

 6   Cato v. United States, 70 F.3d 1103, 1106 (9th Cir. 1995). However, if it is clear that a complaint

 7   cannot be cured by amendment, the court may dismiss without leave to amend. Id. In this case,

 8   plaintiffs should not be granted leave to amend their equal protection claim because the

 9   deficiencies with that claim cannot be cured by amendment. 3 First, plaintiffs lack standing to bring

10   the claim, as set forth above, and it does not appear that the defect can be cured. Second, the claim

11   is time barred. An equal protection claim against the federal government is subject to a six-year

12   statute of limitations. See, e.g., Catholic Social Servs. v. INS, 232 F.3d 1139, 1145 (9th Cir 2001)

13   (citing 28 U.S.C. § 2401(a)). The claim accrues when the plaintiff is or should be aware of his

14   injury and its immediate cause. See, e.g., Hensley v. United States, 531 F.3d 1052, 1056-57 (9th

15   Cir. 2008). Plaintiffs complain that their father was denied an additional prestigious award for his

16   service in the 1940s, decades ago. Even if the Court accepts that plaintiffs did not know about the

17   alleged error until 2002 as they allege in their complaint, they still failed to bring the claim within

18   six years of that time period. Amended Complaint at ¶ 33. Plaintiffs’ appeal to the BCNR may

19   have tolled the statute of limitations for any claim they actually raised to the BCNR and while the

20   BCNR considered that claim, but that appeal did not toll the statute of limitations for plaintiffs’

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      Although the Fourteenth Amendment is inapplicable, the Fifth Amendment, which contains no equal protection
     clause, forbids discrimination that is “so unjustifiable as to be violative of due process.” Schneider v. Rusk, 377 U.S.
     163, 168 (1964). Fifth Amendment equal protection claims have been adjudicated the same as equal protection
23   claims under the Fourteenth Amendment. Weinberger v. Wiesenfeld, 420 U.S. 636, 638 (1975).

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 1   equal protection claim, Tucker Act claim, or any claim they did not actually raise to the BCNR.

 2   See, e.g., Nichols v. Hughes, 721 F.2d 657, 660 (9th Cir. 1983) (explaining that where the

 3   exhaustion of an administrative remedy is required, the statute of limitations may be tolled while

 4   exhaustion occurs). Exhaustion was not required for plaintiffs’ equal protection claim, and

 5   plaintiffs do not claim that they raised their equal protection or Tucker Act claims to the BCNR.

 6   Therefore, no tolling occurred for those claims. Moreover, plaintiffs state that the BCNR denied

 7   their claim in 2010, more than six years before they filed this suit. Amended Complaint at ¶ 95.

 8   Therefore, the claim is futile because it is untimely.

 9          Third, a claim for monetary damages may not be asserted against the federal government

10   unless expressly authorized by an unambiguous waiver of sovereign immunity. Oklevueha Native

11   Am. Church of Hawaii, Inc. v. Holder, 676 F.3d 829, 840 (9th Cir. 2012) (quoting Lane v. Peña,

12   518 U.S. 187, 192 (1996)). The same immunity extends to suits brought against federal officers

13   sued in their official capacity. Sierra Club v. Whitman, 268 F.3d 898, 901 (9th Cir. 2001) (citing

14   State of Hawaii v. Gordon, 373 U.S. 57, 58 (1963)). The United States has not waived its sovereign

15   immunity for constitutional tort claim for damages against the United States or its agencies. See

16   Federal Deposit Ins. Co. v. Meyer, 510 U.S. 471, 486 (1994) (“An extension of Bivens to agencies

17   of the Federal Government is not supported by the logic of Bivens itself. We therefore hold that

18   Meyer had no Bivens cause of action for damages against FSLIC.”). Therefore, plaintiffs cannot

19   pursue a constitutional claim for money damages against the federal government under the

20   circumstances alleged.

21          Finally, plaintiffs’ allegation that their father was treated differently than service members

22   who received the Navy Cross does not state an equal protection claim. Plaintiffs are not claiming

23   that they (or their father) were treated differently because of membership in a protected class or

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 1   group. See, e.g., Barren v. Harrington, 152 F.3d 1193, 1194-95 (9th Cir. 1998) (holding that a

 2   “plaintiff must show that the defendants acted with an intent or purpose to discriminate against the

 3   plaintiff based upon membership in a protected class”); Pruitt v. Cheney, 963 F.2d 1160 (9th Cir.

 4   1992). Nor can plaintiffs proceed under a “class of one” theory where the underlying action – the

 5   denial of military honors – arises in the context of public employment. Engquist v. Or. Dep’t of

 6   Agric., 553 U.S. 591, 598, 604 (2008) (holding that a class of one equal protection theory is

 7   inapplicable in the context of public employment because employment-related decisions are

 8   “subjective and individualized, resting on a wide array of factors that are difficult to articulate and

 9   quantify.”). Although the Engquist decision involved a state employee, the court’s analysis

10   covered federal employees too. Id. at p. 607. For all of those reasons, plaintiffs’ equal protection

11   claim must be dismissed without leave to amend.

12   D.     Plaintiffs’ Little Tucker Act Claim

13          Even if they have standing to bring them, plaintiffs’ numerous claims under the Tucker Act

14   are untenable. See Counts IV, V, VI. Plaintiffs have confirmed that they are not seeking more

15   than $10,000 in damages (Dkt. #16 at p. 2), so jurisdiction, if it existed, would be under 28 U.S.C.

16   § 1346(a)(2), known as the Little Tucker Act. The Little Tucker Act allows suits “against the

17   United States,” not against individual federal officers or agencies. 28 U.S.C. § 1346(a)(2); see,

18   e.g., Bautista-Perez v. Holder, 681 F. Supp. 2d 1083, 1088 (N.D. Cal. 2009); Briggs v. United

19   States, 564 F. Supp. 2d 1087, 1094 (N.D. Cal. 2008) (dismissing claims against federal agency

20   under the Little Tucker Act because the United States is the only proper defendant). Therefore,

21   plaintiffs cannot bring their Tucker Act claim against any defendant other than the United States.

22          Plaintiffs have failed to state a Little Tucker Act claim because they have not alleged a

23   necessary element of their claim. The Little Tucker Act waives sovereign immunity and

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 1   provides the district court concurrent jurisdiction with the United States Court of Federal Claims

 2   for claims not exceeding $10,000, “founded either upon the Constitution, or any Act

 3   of Congress, or any regulation of an executive department, or upon any express or implied

 4   contract with the United States.” 28 U.S.C. § 1346(a)(2). “[B]ecause the Tucker Act itself does

 5   not create a substantive cause of action, ‘in order to come within the jurisdictional reach and the

 6   waiver of the Tucker Act, a plaintiff must identify a separate source of substantive law that

 7   creates the right to money damages.’” Jan’s Helicopter Serv. v. FAA, 525 F.3d 1299, 1306 (Fed.

 8   Cir. 2008) (quoting Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (en banc in

 9   relevant part)). Jurisdiction under the Little Tucker Act exists if the statute, regulation, or

10   constitutional provision that is the basis for the complaint “can fairly be interpreted as mandating

11   compensation by the Federal Government for the damage sustained,” and is “reasonably

12   amenable to the reading that it mandates a right of recovery in damages.” Fisher, 402 F.3d at

13   1173 (quoting United States v. Mitchell, 463 U.S. 206, 217 (1983) and United States v. White Mt.

14   Apache Tribe, 537 U.S. 465, 473 (2003)).

15           Plaintiffs’ amended complaint does not allege a money-mandating source as required.

16   Instead, plaintiffs vaguely claim that their father was owed additional compensation from

17   “Congression[ally] mandated” awards, raises, and promotions. Amended Complaint at ¶ 112.

18   Plaintiffs ask the Court to take judicial notice of that fact. Id. at n.21. Their claim that their father

19   was owed money by the federal government is not a fact subject to judicial notice, and it is

20   disputed. Fed. R. Evid. 201. Nor do plaintiffs cite any statute, regulation, or constitutional

21   provision that mandates the compensation they claim was “mandated.”                 In the same vein,

22   plaintiffs’ amended complaint vaguely claims that their father had a “contractual employment

23   relationship,” but they do not identify the contract, cite to it, provide it, or identify any provision

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 1   of such a contract that entitled their father to military awards or more compensation. Amended

 2   Complaint at ¶ 112. Because plaintiffs have not alleged any contract, government debt to them,

 3   or source of law mandating compensation to them or their father, the Court lacks jurisdiction over

 4   plaintiffs’ claim under the Little Tucker Act, and plaintiffs have not stated a claim for which relief

 5   may be granted.

 6          Finally, plaintiffs’ Little Tucker Act claim is untimely for the same reasons that their equal

 7   protection claim is untimely. A Tucker Act claim is subject to a six-year statute of limitations, but

 8   plaintiffs did not bring their claim within that time period. See, e.g., United States v. Park Place

 9   Assocs., 563 F.3d 907, 921-922 (9th Cir. 2009). Plaintiffs allege that they continued to seek review

10   by the BCNR until 2018. Amended Complaint at ¶ 33. While the BCNR’s 2018 decision might

11   extend the time for plaintiffs to file their APA claim to challenge the 2018 decision, it does not

12   extend the statute of limitations for their equal protection and Little Tucker Act claims when they

13   admit that they were aware in 2002 of the alleged wrongful denial of the additional prestigious

14   award and recognition they now seek to correct. Id. Therefore, plaintiffs’ Little Tucker Act claim

15   must be dismissed.

16                                            III. CONCLUSION

17          Based on the foregoing, defendants request that their motion to dismiss be granted and

18   plaintiffs’ equal protection and Tucker Act claims be dismissed for lack of subject matter

19   jurisdiction and failure to state a claim pursuant to Federal Rules of Civil Procedure 12(b)(1) and

20   12(b)(6).

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 1       DATED this 30th day of September, 2021.

 2

 3                                                 Respectfully submitted,

 4                                                 TESSA M. GORMAN
                                                   Acting United States Attorney
 5
                                                   s/ Sarah K. Morehead
 6                                                 SARAH K. MOREHEAD, WSBA No. 29680
                                                   Assistant United States Attorney
 7                                                 Western District of Washington
                                                   United States Attorney’s Office
 8                                                 700 Stewart Street, Suite 5220
                                                   Seattle, Washington 98101-1271
 9                                                 Phone: 206-553-7970
                                                   Email: Sarah.Morehead@usdoj.gov
10
                                                   Attorney for Defendants
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